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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

ROBERT T. BROCKMAN,                       §
                                          §
              Plaintiff,                  §
                                          §
              v.                          §         Civil Action No. 4:22-cv-00202-GCH
                                          §
UNITED STATES OF AMERICA,                 §
                                          §
              Defendant.                  §


                       PLAINTIFF ROBERT T. BROCKMAN’S
                            SUGGESTION OF DEATH

       Pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure, counsel for

Plaintiff respectfully gives notice and suggests upon the record the death of Plaintiff Mr.

Robert T. Brockman. Mr. Brockman passed away on August 5, 2022. Within ninety days,

Plaintiff’s successor or representative will move for substitution pursuant to Rule 25(a)(1)

of the Federal Rules of Civil Procedure to the extent this matter has not been resolved.



Dated: August 6, 2022                          /s/ Jason S. Varnado

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                            CERTIFICATE OF SERVICE

       I certify that on this 6th day of August, 2022, I electronically served this document

on all counsel of record.



                                             /s/ Michael J. Scarduzio
                                             Michael J. Scarduzio




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